
ORDER ON MANDATE
PER CURIAM.
WHEREAS, the judgment of this court was entered on January 16, 1979 (366 So.2d 487) affirmed the order of the circuit court of Dade Comity, Florida, in the above styled cause; and
WHEREAS, on review of this court’s judgment, by certiorari, the Supreme Court of Florida by its opinion and judgment filed July 30, 1981 and mandate now lodged in this court, reversed this court’s judgment, 402 So.2d 1184.
NOW, THEREFORE, It is Ordered that the mandate of this court heretofore issued on February 1, 1979 is withdrawn, the judgment of this court filed January 16, 1979 is vacated, the said opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court, the order of the trial court appealed from is reversed. Costs allowed shall be *124taxed in the trial court (Rule 9.400(a) Florida Rules of Appellate Procedure).
